
The Supreme Court affirmed the judgment of the Common Pleas, on January 17th, 1881, in the following opinion :
Per Curiam.
The only question on this record is as to the validity of the assignment of the Girard Mutual Building and Loan Association, dated February 27, 1879: This instrument was executed under the corporate seal in pursuance of a resolution of the stockholders adopted unanimously at a meeting regularly called. It is true that the power of managing the affairs of the corporation was by the charter exclusively vested in the Directors; but in this case the stockholders were convened by the Directors, “for the purpose of devising a means of winding up the affairs of the association.” and that which was ordered to be done under this resolution was subsequently ratified by the Board. We can perceive no reason why the ordinary principle should not apply in this case.
Judgment assigned.
